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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                        )
COMMITTEE FOR A CONSTRUCTIVE            )
TOMORROW, et al.,                       )
                                        )
             Plaintiffs,                )
                                        )       Case No. 24-cv-00774 (LLA)
      v.                                )
                                        )       Hon. Loren L. AliKhan
UNITED STATES DEPARTMENT OF THE         )
INTERIOR, et al.,                       )
                                        )
             Defendants.                )
                                        )


  PLAINTIFFS’ REPLY IN SUPPORT OF THEIR SUMMARY JUDGMENT MOTION
  AND OPPOSITION TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT


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                            Table of Abbreviations

Abbreviation                               Definition


   APA                            Administrative Procedure Act


  BOEM                        Bureau of Ocean Energy Management


  CFACT                      Committee for a Constructive Tomorrow


    EIS                          Environmental Impact Statement

   ESA                               Endangered Species Act


   NEPA                         National Environmental Policy Act


   NLPC                          National Legal and Policy Center


   NMFS                         National Marine Fisheries Service




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        Plaintiffs, Committee for a Constructive Tomorrow et al. (collectively “CFACT”), ask

this Court to grant their motion for summary judgment and deny Defendants’ cross-motions for

summary judgment:

    •   Defendants do not explain how the federal agencies charged with the responsibility of

        protecting the highly endangered North Atlantic Right Whale, consistent with the plain

        language of the Endangered Species Act (“ESA”)1 and Supreme Court precedent

        construing the Act,2 could have ignored the legal requirement to consider cumulative

        impacts of all planned wind turbine projects in the North Atlantic Right Whale’s feeding

        and breeding grounds, along its migration route and within its designated critical habitat,

        to deem that “best available science” was used to determine the Project’s impacts on the

        whale.

    •   The National Marine Fisheries Service (“NMFS”) fails to explain how its interpretation

        of the ESA, which allows the agency to examine only a narrow slice of available

        information about the impacts of known and planned offshore wind projects that “may

        affect” the species, passes muster under Loper Bright Enterprises v. Raimondo.3

    •   Defendants offer no good reason as to why this Court should reconsider, under the same

        standard applicable here, its earlier ruling that Craig Rucker, President and Founder of

        CFACT, has standing to bring these claims.




1
  16 U.S.C. § 1536.
2
  Tennessee Valley Auth. v. Hill, 437 U.S. 153, 184–85 (1978) (“The plain intent of Congress in
enacting this statute was to halt and reverse the trend toward species extinction, whatever the
cost. This is reflected not only in the stated policies of the Act, but in literally every section of the
statute.”).
3
  See Loper Bright Enterprises v. Raimondo, 603 U.S. 369 (2024) (requiring courts to determine
for themselves what a statute requires and to not automatically defer to an agency’s interpretation
of what a statute requires).
                                                   1
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     •   The Government offers no plausible support for its argument that CFACT should have to

         supplement the administrative record with documents it relies on in its motion for

         summary judgment. CFACT does not seek to supplement the administrative record:

         CFACT instead brings to the Court’s attention highly relevant post-decision events that

         will assist this Court’s review of the issues before it.

         CFACT further notes that the Government should be complying with the Executive Order

issued on January 20, 2025, which prohibits Defendant, the Secretary of the Interior, from

issuing any “new or renewed approvals, rights of way, permits, leases, or loans” for offshore

wind projects “pending the completion” of a “comprehensive assessment and review” of the

federal “wind leasing and permitting practices.”4 This review requires the agency to consider the

same environmental impacts at issue in this case: “The assessment shall consider the

environmental impact of onshore and offshore wind projects upon wildlife, including, but not

limited to, birds and marine mammals.”5 The Government and the Company should advise the

Court of remaining permits and approvals subject to this order and whether the Government has

begun its comprehensive review of the Dominion Wind Project.

Argument

1.       Defendants Intentionally Failed to Analyze the Adverse Effects of Other Federal
         Offshore Wind Projects That Were on the Brink of Being Approved

         The Government admits that, in approving the Dominion Wind Project, the Bureau of

Ocean Energy Management (“BOEM”) and NMFS intentionally excluded from their statutorily

required jeopardy determination the adverse effects of all other Atlantic Coast offshore wind


4
  Temporary Withdrawal of All Areas on the Outer Continental Shelf From Offshore Wind
Leasing and Review of the Federal Government’s Leasing and Permitting Practices for Wind
Projects, 90 Fed. Reg. 8363.
5
  Id.
                                                    2
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projects that were then in the approval process—and for which NMFS itself was then preparing

Biological Opinions. This includes the Biological Opinion for Sunrise Wind, an offshore wind

project off the coast of New York, issued on September 28, 2023,6 just ten days after NMFS

issued the Dominion Wind Biological Opinion.7 NMFS also issued the Atlantic Shores South

Biological Opinion three months later,8 the New England 1 & 2 Projects Biological Opinion five

months later,9 and the Maryland Offshore Wind Biological Opinion nine months later.10

Combined, these projects add 522 more turbines throughout the Right Whale’s migration route.

       NMFS and BOEM ignored in the Dominion Wind Section 7 consultation the following

projects:

            Project Name              Biological Opinion Issuance     # of Turbines

            Dominion Wind             Sept. 18, 2023                  176 Turbines

            Sunrise Wind              Sept. 28, 2023                  84 Turbines

            Atlantic Shores South     Dec. 18, 2023                   195 Turbines

            New England Wind 1 & 2    Feb. 16, 2024                   129 Turbines

            Maryland Offshore Wind    June 18, 2024                   114 Turbines




6
  NMFS, Sunrise Wind Biological Opinion (Sept. 28, 2023),
https://www.fisheries.noaa.gov/s3/2023-10/Sunrise-Wind-Biological-Opinion-092823-508-
Compliant10172023.pdf.
7
  NMFS, Dominion Wind Biological Opinion (Sept. 18, 2023),
https://coastalvawind.com/resources/pdf/20230918_cvow-c_nmfs_biological_opinion.pdf.
8
  NMFS, Atlantic Shores South Biological Opinion (Dec. 18, 2023),
https://repository.library.noaa.gov/view/noaa/66052.
9
  BOEM, New England Wind 1 & 2 Biological Opinion (Feb. 16, 2024),
https://repository.library.noaa.gov/view/noaa/60610.
10
   NMFS, Maryland Offshore Wind Biological Opinion (June 18, 2024),
https://repository.library.noaa.gov/view/noaa/61632.
                                               3
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       1.1     The Cumulative Impacts of Projects Near Completion Were Not Speculative

       The Government argues that it excluded consideration of these pending projects because

federal approvals are “‘speculative.’”11 The Government’s argument is specious because the

Biological Opinion for Sunrise Wind was issued just 10 days after Dominion Wind’s and was

doubtless in the final stage of issuance at that time Dominion Wind’s Biological Opinion was

issued. The combined effect on the migrating Right Whale that must now swim through both the

Dominion Wind and Sunrise Wind areas—let alone the five projects NMFS and BOEM had

approved before Dominion Wind, and the four projects they approved soon afterward—should

not have been ignored (consistent with its obligations under Section 7) by NMFS and BOEM in

approving this Project.

       The Government does not consider state or private projects “speculative”—even though

it has no direct control over them. As the Government admits, it considers “those effects of future

State or private activities, not involving Federal activities, that are reasonably certain to occur

within the action area of the Federal action subject to consultation,”12 but does not consider the

identical adverse effects on endangered species from the same kind of federal activities.13 The

Government’s interpretation of its obligations under Section 7 defeats the very purpose of the

ESA, which is to “use . . . all methods and procedures which are necessary” to prevent a listed

species from becoming extinct.14

       The Government does not argue that information about the adverse effects of these

ongoing project approvals on the Right Whale was unreliable or irrelevant. Rather, the



11
   Gov’t Memo. in Supp. of S.J. at 35, ECF No. 38-1 (Dec. 3, 2024) (quoting 51 Fed. Reg.
19,933).
12
   50 C.F.R. § 402.02.
13
   Gov’t Memo. in Supp. of S.J. at 25, ECF No. 38-1 (Dec. 3, 2024).
14
   Tennessee Valley Authority, 437 U.S. at 185.
                                                  4
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Government believes that it may ignore the adverse effects of unapproved federal (but not state

or private) activities because it chooses to do so. And what if the synergistic impacts of the

Dominion and Sunrise Projects, issued ten days apart, do jeopardize the species? The

Government offers no legitimate reason as to why it can, under the ESA, ignore that jeopardy to

the species just because one biological opinion was issued ten days earlier than the other.

       The ESA gives the agency no statutory discretion to ignore important and relevant

information in making a jeopardy determination; to the contrary, Section 7 states that “each

Federal agency shall . . . insure that any action authorized, funded, or carried out by such agency

. . . is not likely to jeopardize the continued existence of any endangered species”15 and

specifically tasks NMFS with the statutory duty to make its jeopardy determination using “the

best scientific and commercial data available.”16

       1.2     The Statute Prevails Over an Inconsistent Regulation

       Defendants argue that, regardless of what the ESA provides, “[c]ourts cannot ignore the

existence or plain terms of a regulation.”17 But if a regulation conflicts with the statute or

“operates to create a rule out of harmony with the statute,” that regulation “is a mere nullity.”18

       As the Government concedes, CFACT’s claim is not a facial challenge to the regulation,19

but a response to the Government’s and the Company argument that they were not required to

consider the soon-to-be-approved projects like Sunrise Wind because their regulation says so.

CFACT’s sole point here is that, where the regulation is inconsistent with the statute, it is the




15
   16 U.S.C. § 1536(a)(2).
16
   Id.
17
   Dominion Energy Memo. in Supp. of S.J. at 19, ECF No. 40-1 (Dec. 17, 2024).
18
   Dixon v. United States, 381 U.S. 68, 74 (1965) (internal citations omitted).
19
   Gov’t Memo. in Supp. of S.J. at 34, ECF No. 38-1 (Dec. 3, 2024).
                                                  5
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statute and not the regulation that defines the agency’s legal obligation.20 Here, NMFS’s

obligation was to determine whether proposed federal actions—e.g., Dominion Wind, Sunrise

Wind, Atlantic Shores South, New England Wind 1 & 2, and the Maryland Offshore Wind

Project—jeopardize the continued existence of the Right Whale and to prepare a written

Biological Opinion stating the reasons for its conclusion.21 So, even if the agencies published a

regulation exempting themselves from considering relevant information about the effects of other

pending government approvals, that regulation does not exempt NMFS and BOEM from their

statutory obligation to determine jeopardy using “the best scientific and commercial data

available.”22

       The Government cannot hide behind NMFS’s regulation to excuse its failure to consider

the best scientific and commercial information available, and the Company is wrong in arguing

that, because this regulation is duly promulgated, the Court must accept the Government’s failure

because NMFS was simply following the regulation as written. The power of agencies “to

administer a federal statute and to prescribe rules and regulations to that end is not the power to

make law . . . but the power to adopt regulations to carry into effect the will of Congress as

expressed by the statute[,]” and when a regulation does not carry out the will of Congress

expressed by the statute, “but operates to create a rule out of harmony with the statute,” that

regulation “is a mere nullity.”23 Authority to “issue regulations is not the power to make law, and

a regulation contrary to a statute is void.”24 And in cases where an agency applies a regulation




20
   Dixon, 381 U.S. at 74.
21
   16 U.S.C. § 1536(a)(2).
22
   Id.
23
   Dixon, 381 U.S. at 74 (internal citations and quotations omitted).
24
   Orion Rsrvs. Ltd. P’ship v. Salazar, 553 F.3d 697, 703 (D.C. Cir. 2009).
                                                 6
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that conflicts with the statute from which its authority derives, affected parties may challenge the

application of the regulation on those grounds.25

       NMFS’s regulation excluding federal actions from the cumulative effects analysis

directly conflicts with the plain meaning and intent of Congress in passing the Endangered

Species Act, which was to

       halt and reverse the trend toward species extinction, whatever the cost. This is
       reflected not only in the stated policies of the Act, but in literally every section of
       the statute. . . . Agencies in particular are directed . . . to “use . . . all methods and
       procedures which are necessary” to preserve endangered species.26

       Refusing to look at the cumulative effects of a major federal program that impacts the

North Atlantic Right Whale along its entire migration route contradicts the directive to “use . . .

all methods and procedures which are necessary” to preserve endangered species. Refusing to

consider how North Atlantic Right Whales are impacted by other offshore wind projects when

considering whether this Project will jeopardize an already weakened and susceptible species

fails to look at the full picture of how this endangered species will really be impacted.

       Other circuits have recognized that under the ESA, “‘[w]hen it comes to protecting listed

species, environmental context is critical.’”27 Here, using its regulations as a defense, NMFS has

refused to evaluate and consider the cumulative effects of the offshore wind program and

evaluated this Project in a vacuum. Other circuits have warned that this type of review does the

exact opposite of what the ESA was intended to do:

       If the Fish and Wildlife Service conducted its ‘jeopardy analysis in a vacuum,’
       focusing only on the individual agency action at issue, then ‘a listed species could


25
   See generally Citizens for Resp. & Ethics in Washington v. Fed. Election Comm’n, 243 F.
Supp. 3d 91 (D.D.C. 2017).
26
   Tennessee Valley Authority, 437 U.S. at 184–85.
27
   Sierra Club v. Nat’l Marine Fisheries Serv., No. CV DLB-20-3060, 2024 WL 3860211, at *14
(D. Md. Aug. 19, 2024) (quoting Appalachian Voices v. United States Dep’t of Interior, 25 F.4th
259, 269 (4th Cir. 2022)).
                                                   7
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       be gradually destroyed, so long as each step on the path to destruction [wa]s
       sufficiently modest.’ . . . But this ‘slow slide into oblivion is one of the very ills the
       [Endangered Species Act] seeks to prevent.’”28

       This Project does not exist in a vacuum; it is part of a massive-scale, “coordinated” plan

to develop in rapid succession numerous projects, which will consist of thousands of turbines all

along the Atlantic coast of the United States.29 Because NMFS’s regulation allowed it to ignore

cumulative impacts from future offshore wind projects and the best scientific and commercial

data available on how 30-plus projects along the North Atlantic Right Whale’s migratory route

jeopardizes the species’ continued existence, NMFS’s final agency action directly conflicts with

the ESA and is reviewable under the Administrative Procedure Acts (“APA”).

       1.3     Other Courts Have Required Consideration of Known Impacts of Future
               Projects Under Section 7

       The Company is wrong when it asserts that this Court and others have rejected

obligations to consider future projects in an ESA consultation. Fund for Animals v. Hall30

involved challenges under the National Environmental Policy Act (“NEPA”) and the APA, not

the ESA, and the Court’s decision reflected that a Section 7 consultation and Biological Opinion

could not replace NEPA’s review requirements.31 In Defenders of Wildlife v. Norton,32 the

plaintiffs argued that all federal actions must be considered in a Biological Opinion. CFACT

does not make this argument; instead, CFACT argues that NMFS must look at the cumulative



28
   Appalachian Voices, 25 F.4th at 269 (quoting Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries
Serv., 524 F.3d 917, 929–30 (9th Cir. 2008)).
29
   Biden Administration, Fact Sheet: Biden Administration Jumpstarts Offshore Wind Energy
Projects to Create Jobs (Mar. 29, 2021), https://bidenwhitehouse.archives.gov/briefing-
room/statements-releases/2021/03/29/fact-sheet-biden-administration-jumpstarts-offshore-wind-
energy-projects-to-create-jobs/.
30
   Fund For Animals v. Hall, 448 F. Supp. 2d 127, 136 (D.D.C. 2006).
31
   Id. at 135–37.
32
   Defs. of Wildlife v. Norton, No. CIV.A.99-927(ESH), 2003 WL 24122459, at *5 (D.D.C. Jan.
7, 2003).
                                                   8
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effects of the other offshore wind projects in making a jeopardy determination. But the Norton

court also concluded that a Biological Opinion “must consider other agencies’ projects in

determining the likely effect of that single agency’s action on the endangered species,”33

signaling that other federal projects must also be considered in a Biological Opinion, not just the

single action under review. And in Nantucket Residents,34 the plaintiffs relied on general

statements from a scientific article regarding failure to consider cumulative effects—not the

failure to consider Government-made documents and Government decisions regarding the

number of takes from offshore wind projects and other offshore wind projects’ impacts on the

North Atlantic Right Whale.

       Pacific Coast,35 is not inapposite, as the Company argues. In Pacific Coast, plaintiffs

challenged several individual biological opinions and argued that NMFS’s “disregard of projects

with a relatively small area of impact but that carried a high risk of degradation when multiplied

by many projects and continued over a long time period” was a major flaw in the Section 7

analysis.36 The Ninth Circuit went on to explain that other federal projects, whether future or

already approved, must be considered, or else individual project impacts would become diluted:

       Unless the effects of individual projects are aggregated to ensure that their
       cumulative effects are perceived and measured in future ESA consultations, it is
       difficult to have any confidence in a wide regional no-jeopardy opinion. Failure to
       account adequately for the cumulative effects of the various projects undermines
       the assumptions that the district court authorized NMFS to make in PCFFA I. If the
       effects of individual projects are diluted to insignificance and not aggregated, then
       Pacific Coast is correct in asserting that NMFS’s assessment of ACS consistency at




33
   Id.
34
   Nantucket Residents Against Turbines v. U.S. Bureau of Ocean Energy Mgmt., 100 F.4th 1 (1st
Cir. 2024).
35
   Pac. Coast Fed’n of Fishermen’s Ass’n, Inc. v. Nat’l Marine Fisheries Serv., 265 F.3d 1028
(9th Cir. 2001).
36
   Id. at 1036.
                                                 9
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       the watershed level is tantamount to assuming that no project will ever lead to
       jeopardy of a listed species.37

       What happened in Pacific Coast is happening here: NMFS is reviewing each of these

offshore wind projects in a vacuum, failing to look at how, once aggregated, all the projects will

jeopardize the North Atlantic Right Whale. While six “harassment” takes here might not seem

like anything to NMFS, when all projects are combined, NMFS has approved the take, by

harassment, of more Right Whales than are currently in existence. While NMFS’s authorized

takes of Right Whales have not authorized the killing of any whale, NMFS has stated that less

than one Right Whale can die annually.38

       Combined, the offshore wind program surely jeopardizes the continued existence of the

North Atlantic Right Whale. Right Whales will be harassed as they migrate along the coast,

making them more vulnerable with each harassment, leading to increased likelihoods of death,39

but individually, under NMFS’s truncated analysis, none of the projects alone will ever

jeopardize the species. Without looking at future offshore wind projects, NMFS is diluting the

impact on the North Atlantic Right Whale and shirking its duties under the ESA to preserve the

continued existence of the species.

2.     Defendants Admit That, Without Excuse, They Failed to Consider the Best Scientific
       and Commercial Information Available, Including Their Own North Atlantic Right
       Whale and Offshore Wind Strategy

       Section 7 of the Endangered Species Act imposes an explicit, affirmative duty on all

federal agencies to ensure that their actions are not likely to jeopardize the continued existence of



37
   Id. at 1036–37.
38
   Bureau of Ocean Energy Management, BOEM and NOAA Fisheries North Atlantic Right
Whale and Offshore Wind Strategy (Jan. 2024) at 7,
https://www.boem.gov/sites/default/files/documents/environment/BOEM_NMFS_NARW_OSW
_0.pdf (Right Whale Strategy).
39
   Id.
                                                 10
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a species, using “the best scientific and commercial data available.”40 This provision “prohibits

the Secretary from disregarding available scientific evidence that is in some way better than the

evidence he relie[d] on.”41 This standard requires agencies to “consider the scientific information

presently available.”42 In its review, the court holds “‘agencies to certain minimal standards of

rationality.’”43

        The Government unapologetically admits that it failed to consider several critical

Government documents, including the North Atlantic Right Whale and Offshore Wind Strategy,44

which provide critical evidence concerning the precarious existence of the North Atlantic Right

Whale45—rendering its Biological Opinion arbitrary and capricious for failing to consider an

“important aspect of the problem[.]”46 Adding insult to injury, the Government now seeks to bar

the Court from even seeing those agency-ignored documents to determine whether, as CFACT

asserts, they should have been considered during the ESA consultation.

        But evidence that is not part of an Administrative Record is reviewable by the Court

when, as here, it proves that the Government failed to consider important factors relevant to that

final agency action.47 Courts have broad discretion to review extra record evidence in instances

where, as here, the “agency failed to consider factors which are relevant to its final decision[.]”48



40
   See 16 U.S.C. § 1536; see also 50 C.F.R. § 402.14(g)(8).
41
   Am. Wildlands v. Kempthorne, 530 F.3d 991, 998 (D.C. Cir. 2008) (internal citations and
quotations omitted).
42
   Defs. of Wildlife v. Babbitt, 958 F. Supp. 670, 680 (D.D.C. 1997).
43
   Shafer & Freeman Lakes Env’t Conservation Corp. v. FERC, 992 F.3d 1071, 1090 (D.C. Cir.
2021) (quoting Troy Corp. v. Browner, 120 F.3d 277, 283 (D.C. Cir. 1997)).
44
   See Right Whale Strategy supra note 38.
45
   Gov’t Memo. in Supp. of S.J. at 12, 14, ECF No. 38-1 (Dec. 3, 2024).
46
   Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43
(1983).
47
   See Esch v. Yeutter, 876 F.2d 976, 991 (D.C. Cir. 1989) (a court can review extra-record
documents “when the agency failed to consider factors which are relevant to its final decision.”).
48
   Id.
                                                 11
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And courts review extra-record documents to help them “understand the issues clearly,”49 or in

instances where “simply reviewing the administrative record is not enough to resolve the case.”50

The D.C. Circuit has held that “when the substantive soundness of the agency’s decision is under

scrutiny . . . it may sometimes be appropriate to resort to extra-record information to enable

judicial review to become effective,”51 and the Court has enumerated eight exceptions that, if

found, trigger the need for extra-record review:

       (1) when agency action is not adequately explained in the record before the court;
       (2) when the agency failed to consider factors which are relevant to its final
       decision; (3) when an agency considered evidence which it failed to include in the
       record; (4) when a case is so complex that a court needs more evidence to enable it
       to understand the issues clearly; (5) in cases where evidence arising after the agency
       action shows whether the decision was correct or not; (6) in cases where agencies
       are sued for a failure to take action; (7) in cases arising under the National
       Environmental Policy Act; and (8) in cases where relief is at issue, especially at the
       preliminary injunction stage.52

       In Oceana, Inc. v. Evans,53 for example, the court allowed the use of extra-record review

to evaluate a letter written by a scientist who developed the model used by NMFS to determine

whether NMFS’s use of that model was inappropriate.54 In Carlton v. Babbit,55 NMFS relied on a

scientific article in its decision-making process, and the Court implemented an extra-record

review to evaluate a letter from the scientist explaining why NMFS’s use of the article was

improper. Specifically, the Court found that the author’s “understanding of his own article [was]

particularly relevant and should have been considered in connection with this matter.”56 And in



49
   Id.
50
   See Pac. Shores Subdivision, California Water Dist. V. U.S. Army Corps of Eng’rs, 448 F.
Supp. 2d 1, 6 (D.D.C. 2006).
51
   Esch, 876 F.2d at 991.
52
   Id.
53
   Oceana, Inc. v. Evans, 384 F. Supp. 2d 203, 213–14 (D.D.C. 2005).
54
   Id. at 217 n.17.
55
   Carlton v. Babbitt, 26 F. Supp. 2d 102 (D.D.C. 1998).
56
   Id. at 108.
                                                   12
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National Mining Association v. Jackson,57 this Court utilized extra-record review because “while

the administrative record [was] not so bare as to frustrate judicial review as to all of the

plaintiffs’ claims, it [was] entirely bare as to how the EPA has applied the Final Guidance.”58

         2.1    The North Atlantic Right Whale and Offshore Wind Strategy Jointly
                Prepared by NMFS and BOEM Is the Best Available Scientific Information
                on the Adverse Effects of Offshore Wind Projects on the Endangered North
                Atlantic Right Whale

         NMFS and BOEM jointly prepared the North Atlantic Right Whale and Offshore Wind

Strategy to “focus and coordinate efforts related to” North Atlantic Right Whales and offshore

wind development.59 Inexplicably, however, NMFS failed to consider this critically important

study in preparing its Biological Opinion for the Dominion Wind Project. Had it done so, NMFS

would have realized that the conclusions in that Strategy confirm the adverse impacts this Project

will have on the whale:

     •   The North Atlantic Right Whale has a “range [that] overlaps with the area proposed for

         [offshore wind] development. . . .”60

     •   “The activities associated with [offshore wind] development would introduce or further

         contribute to existing stressors in the environment that affect [North Atlantic Right

         Whales],”61 including “exposure to noise and/or pressure (particularly from construction

         activities),”62 resulting in “hearing impairment, masking of [North Atlantic Right Whale]




57
   Nat’l Min. Ass’n v. Jackson, 856 F. Supp. 2d 150 (D.D.C. 2012).
58
   Id. at 158.
59
   Right Whale Strategy supra note 38 at 1.
60
   Id. at 5.
61
   Id. at 12.
62
   Id.
                                                  13
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         vocal communication, physiological impacts (e.g., stress), and/or behavioral disturbance,

         as well as mortality and injury. . . .”63

     •   “The extent to which OSW development may increase or alter entanglement risk and how

         changes in habitat may affect [North Atlantic Right Whales], particularly through

         sublethal effects that do not result in mortality or serious injury, are not as well

         understood. Sublethal effects can be direct or indirect, and often scientific quantification

         of indirect effects is challenging, though some can be modeled.”64

     •   “Whales that are in compromised condition (e.g., injured, entangled, malnourished) and

         exposed to stressors are likely to experience more severe consequences than healthy

         animals.”65

         Defendants argue that the Strategy is “nonbinding.”66 But they cannot and do not contend

that it does not contain crucially important scientific information about the North Atlantic Right

Whale, including that impacts on Right Whales “could result from stressors generated from a

single project,” and “there is the potential for these effects to be compounded by exposure to

multiple projects” because migrating whales “have the potential to travel near or through many”

offshore wind developments.67 And nothing in the ESA allows the agencies to ignore the “best

scientific information available”68 because it is found in a nonbinding document (as, for

example, a scientific study of the adverse effects of offshore wind projects on the Right Whale).




63
   Id.
64
   Id.
65
   Id. at 14.
66
   Gov’t Memo. in Supp. of S.J. at 14, ECF No. 38-1 (Dec. 3, 2024).
67
   Right Whale Strategy supra note 38 at 14.
68
   16 U.S.C. § 1536(a)(2).
                                                     14
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       Nor can this document be found in the administrative record, which contains the

information the agencies relied on in making their decisions.69 The whole point is that they

ignored and did not consider the document—thus failing to consider “important aspect[s] of the

problem.”70

       Defendants argue that the Court is not allowed to see the Strategy because the final

version (but not the draft version) was published after BOEM published the Dominion Wind

Record of Decision. The plain fact is that at least the Draft Strategy, with its critically valuable

scientific information regarding the Right Whale, was available at the time the agencies

published the Biological Opinion and the Record of Decision.71 But even documents that post-

date the agency action can be reviewed when evidence arising after the agency action shows

whether the decision was correct or not.72 In addition, Section 7 requires NMFS to reinitiate

consultation when “new information reveals effects of the action that may affect listed species or

critical habitat in a manner or to an extent not previously considered.”73

       2.2     References to the Hayes Letter and Other Government-Created Documents
               Relating to the Number of Takes and Deaths of North Atlantic Right Whales
               Demonstrate that NMFS Failed to Consider All Relevant Issues

       The Government objects to the May 2022 Hayes Letter, written by Dr. Sean A. Hayes,

NMFS’s Director of Protected Species, to BOEM regarding the “population-level effects”

offshore wind poses to North Atlantic Right Whales. This letter completely undermines the



69
   See Pac. Shores Subdivision, California Water Dist. v. U.S. Army Corps of Eng’rs, 448 F.
Supp. 2d 1, 7 (D.D.C. 2006).
70
   Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43
(1983).
71
   The Draft Strategy was published in October 2022. See National Marine Fisheries Service and
Bureau of Ocean Energy Management, Draft North Atlantic Right Whale and Offshore Wind
Strategy (Oct. 2022), https://www.regulations.gov/document/BOEM-2022-0066-0003.
72
   Esch, 876 F.2d at 991.
73
   50 C.F.R. § 402.16.
                                                  15
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Government’s repeated assertions that this Project poses no significant risk to the North Atlantic

Right Whale. The letter highlights that offshore wind development poses risks to the Right

Whale,

         at varying stages, including construction and development, and include increased
         noise, vessel traffic, habitat modifications, water withdrawals associated with
         certain substations and resultant impingement/entrainment of zooplankton, changes
         in fishing effort and related potential increased entanglement risk, and
         oceanographic changes that may disrupt the distribution, abundance, and
         availability of typical right whale food. . . . [U]nlike vessel traffic and noise, which
         can be mitigated to some extent, oceanographic impacts from installed and
         operating turbines cannot be mitigated for the 30-year lifespan of the project, unless
         they are decommissioned.74

         To defend against CFACT’s claims, the Government attempts to undermine the Hayes

letter and his opinions. But Dr. Sean Hayes is not some random scientist with unsolicited

opinions on these projects. Dr. Hayes is NMFS’s current Director of Protected Species and at the

time he wrote the letter, he was the Protected Species Branch Chief, where he oversaw the teams

managing ESA and Marine Mammal Protection Act research for marine mammals.75 His

research and findings as a lead scientist at NMFS were important enough to be cited throughout

the Dominion Wind Biological Opinion, including a NMFS technical report evaluating North

Atlantic Right Whale recovery challenges and several U.S. Atlantic and Gulf of Mexico marine

mammal stock assessments.76

         In cases like this, where a scientist whose work has been used to formulate a biological

opinion is brought in to challenge an agency decision, courts have allowed extra-record review.




74
   Dr. Sean A. Hayes Letter, Ex. 1 to CFACT’s Memo. in Supp. of S.J. at 1, ECF No. 36-3 (Oct.
4, 2024).
75
   NOAA Fisheries, Sean Hayes, Ph.D., https://www.fisheries.noaa.gov/contact/sean-hayes-phd
(last visited Mar. 21, 2025).
76
   NOAA_000265-000266 (seven sources written by Sean A. Hayes).
                                                   16
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In Carlton v. Babbit,77 a case reviewing a biological opinion, this Court allowed extra-record

review of a letter written by a scientist who had written an article heavily relied upon by NMFS

in making its decision because the author’s “understanding of his own article was particularly

relevant and should have been considered in connection with this matter.”78 Here, Dr. Hayes’s

understanding of his research—research that was used by NMFS in the Biological Opinion—is

relevant to how NMFS ultimately made its final decision and is reviewable.

          The Government also objects to CFACT’s citations to other Government documents

evidencing the number of takes that have been approved by NMFS for offshore wind projects

and NMFS’s own reports regarding the death and serious injuries of North Atlantic Right

Whales, several of which have occurred near offshore wind leases and one of which occurred last

year offshore Virginia, near the Dominion Wind Project. In making these objections, NMFS

confirms that it failed to consider how its approvals in other projects, and future approvals,

would impact the species as a whole when making its determination here. Without seeing the

opinions of other NMFS scientists who reviewed other offshore wind projects, the staggering

number of takes approved under Marine Mammal Protection Act permits, and the increasing

number of Right Whale deaths in and around offshore wind leases, this Court will not be able to

determine whether NMFS failed to consider issues relevant to its final decision.




77
     Carlton, 26 F. Supp. 2d 102.
78
     Id. at 108.
                                                 17
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        2.3        Evidence Showing the Ecological Dangers of Turbine Debris and
                   Malfunction on Marine Life Demonstrates that NMFS Should Have
                   Considered Such Risks When Making the No Jeopardy Determination and
                   NMFS Admits That It Did Not Review or Consider the Possibility of Turbine
                   Failure

        NMFS had the statutory duty to consider available scientific information on how the

Project would impact North Atlantic Right Whales. This includes information on how blade and

turbine failures would impact endangered species swimming in and traveling through the area.

But, not only does the Biological Opinion fail to discuss or mention such impacts from turbine

and blade failures, it also fails to discuss how turbine blade debris from multiple projects—

already approved projects and future planned projects—will degrade the ocean environment,

alter food sources, and change North Atlantic Right Whale migration routes—issues which

CFACT raised in its Amended Complaint, its 60-Day Notice Letter, and has consistently argued

in its briefing.

        Because of the deficiencies with NMFS’s review, and by extension the Administrative

Record, CFACT referenced those documents to advise the Court of the likelihood of a turbine

blade failure and how dangerous such a failure can be to endangered species and their

environments. The Government continues to push its baseless narrative that the record does not

support any danger from turbine blade failure and debris in the water, but that evidence does not

exist because NMFS intentionally chose not to review it. Just because NMFS did not analyze or

consider the issue does not mean that there is no threat.

        The Government, in arguing that the Court should not consider evidence of turbine blade

failure at other offshore wind projects, erroneously asserts that CFACT’s claims are limited to

claims “concerning potential effects of the [Coastal Virginia Offshore Wind] Project on right




                                                 18
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whales.”79 Not so. CFACT’s claims have always been centered around how NMFS “failed to

address the cumulative, connected, and synergistic impacts of implementing the [Offshore Wind]

projects slated for the Atlantic Coast, including but not limited to the [Coastal Virginia Offshore

Wind] facility,” and “failed to consult and use the best available scientific and commercial

information in its analyses.”80 Because these creatures travel through the lease areas for more

than 30 offshore wind projects, turbine and blade failures at other projects should have been

considered. The whales were exposed to debris and chemicals from the Vineyard Wind 1 Project

turbine blade failure in July 2024 and would also likely be exposed to other debris and chemicals

from turbine or blade failure as they migrate back through the other lease areas.

        These turbine generators are more than 800-feet tall, with blades made of fiberglass and

other chemicals that are more than 350-feet long. Each turbine contains tens of thousands of

gallons of coolants, oils, and lubricants.81 How these materials impact endangered species,

should material from one of the 168 turbines (plus the thousands of other turbines along the east

coast) end up leaking or falling into the water, is something NMFS should have considered in its

Biological Opinion. The evidence cited by CFACT demonstrates the dangers of these scenarios

and establishes for the Court just one of the many issues that NMFS failed to consider that were

relevant to its decision.

        The Government misses the mark by arguing that CFACT never commented on this

during the Environmental Impact Statement (“EIS”) process. However, CFACT’s claim relates to

the ESA and NMFS’s Section 7 consultation and review, which does not allow for public




79
   Gov’t Memo. in Supp. of S.J. at 11, ECF No. 38-1 (Dec. 3, 2024).
80
   Amend. Compl. ¶ 31, ECF No. 11 (Apr. 16, 2024).
81
   BOEMCVOW_951.
                                                 19
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comment.82 The Government made this same unsuccessful argument in Oceana, Inc. v. Evans,83

where the Court allowed extra-record evidence because “there was no public comment period

for” the Biological Opinion and the scientist only “became aware of the [Biological Opinion’s]

use of [her] model,” after the Biological Opinion was published.84

       2.4     A Motion to Supplement the Administrative Record Would Have Been Futile,
               Since These Documents Were Not Considered and Therefore Not Part of the
               Administrative Record

       The Government confuses supplementation of the record with extra-record review and

incorrectly argues that because CFACT did not attempt to supplement the record with these

documents, these documents should not be considered. As this Court explained in Pacific

Shores,85 supplementing the record, which is “adding to the volume of the administrative record

with documents the agency considered,”86 should not be confused with extra-record evidence,

which allows the court to view “evidence outside of or in addition to the administrative record

that was not necessarily considered by the agency.”87 Only documents that “were directly or

indirectly considered by the [agency] decisionmaker(s) should be included in the administrative

record.”88 Whereas, extra-record documents could include any other type of relevant evidence.

Just as the Government conflates these two separate processes, it also conflates the standard that

must be met for extra-record review. CFACT does not, as the Government erroneously contends,

have to “rebut the presumption of administrative regularity,” rather, CFACT must show that “one




82
   See Oceana, Inc., 384 F. Supp. 2d at 217 n.17.
83
   Oceana, Inc., 384 F. Supp. 2d 203.
84
   Id. at 217 n.17.
85
   See Pac. Shores Subdivision, California Water Dist., 448 F. Supp. 2d at 5–6.
86
   Id. at 5.
87
   Id.
88
   Id. at 7.
                                                20
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of the eight recognized exceptions to the general prohibition against extra-record review”89 has

been met.

       The Government relies on cases that involve only record supplementation, not review of

documents that were never part of the evidence the agency reviewed in making its decision.

Contrary to the Government’s assertion, in Pacific Shores, the court never analyzed whether

extra-record review was available because the plaintiffs in that case did not ask for that type of

review.90 Likewise, City of Dania Beach v. FAA,91 is inapplicable because it dealt with the issue

of record supplementation, not whether the Court could review evidence that was not in the

record because the agency failed to consider it. Tex. Rural Legal Aid, Inc. v. Legal Servs. Corp.,92

is also not applicable because it involved a discovery request, not evidence that the agency

should have considered but did not. Here, none of the documents cited by CFACT were reviewed

or in front of the agency at the time the decision was made, making record supplementation

improper. As already discussed, however, these documents call into question the “substantive

soundness” of NMFS’s decision, and CFACT has established two of the eight exceptions to

extra-record review apply: “[W]hen the agency failed to consider factors which are relevant to its

final decision” and “where evidence arising after the agency action shows whether the decision

was correct or not.”93




89
   See id. at 5–6.
90
   Id. at 6.
91
   City of Dania Beach v. F.A.A., 628 F.3d 581, 590 (D.C. Cir. 2010).
92
   Texas Rural Legal Aid, Inc. v. Legal Servs. Corp., 940 F.2d 685, 698 (D.C. Cir. 1991).
93
   Esch, 876 F.2d at 991.
                                                 21
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3.        This Court’s Ruling That at Least One Plaintiff Has Standing Is Law of the Case
          and Should Not Be Reconsidered

          In ruling on CFACT’s motion for an administrative stay or preliminary injunction, the

Court determined that Plaintiff, Craig Rucker, has standing to bring this case. That ruling is the

law of this case, and Defendants offer no good reason why the Court should reconsider that

ruling.

          Defendants are wrong when they argue that the Court’s finding that Rucker has standing

(and therefore the Court has jurisdiction) was based on a lesser showing than required at the

summary judgment stage. As the D.C. Circuit has held, the same showing to establish standing

applies at both the preliminary injunction and the summary judgment stage: “In the context of a

preliminary injunction motion, we require the plaintiff to ‘show a substantial likelihood of

standing’ ‘under the heightened standard for evaluating a motion for summary judgment.’”94

          In ruling on the preliminary injunction, this Court concluded, applying this “heightened

standard,”95 “that Plaintiffs have shown a substantial likelihood that at least one plaintiff, Mr.

Rucker, has standing. . . .”96 The Court found that Rucker had shown injury-in fact through his

“abiding interest in the Right Whale,” his “concrete plans to observe the Right Whale in the near

future,” and his belief, “that the Project will interfere with” his concrete plans.97 The Court also

found that Rucker had established causation by contending that NMFS “failed to consider

cumulative effects” in the Biological Opinion “leading to approval of a project that will hinder

his ability to observe the Right Whale.”98 And the Court found that Rucker’s injuries were


94
   Elec. Priv. Info. Ctr. v. Presidential Advisory Comm’n on Election Integrity, 878 F.3d 371, 377
(D.C. Cir. 2017) (citations omitted).
95
   Id.
96
   Memo. Op. and Order Denying Mot. for Stay at 8, ECF No. 28 (May 24, 2024).
97
   Id. at 6.
98
   Id. at 7.
                                                  22
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redressable because “requiring NMFS to consider cumulative effects in its Biological Opinion

could cause NMFS to reach a different conclusion regarding the Project’s effects on the Right

Whale.”99

       Defendants are, in effect, asking the Court to reconsider its prior ruling that Rucker has

standing. But, motions for reconsideration—whether actual or de facto—“cannot be used as ‘an

opportunity to reargue facts and theories upon which a court has already ruled[.]’”100 Efficient

administration of justice requires that there be good reason for a court to reconsider an issue

already litigated by the parties.101 Yet Defendants offer no good reason (or any reason at all) why

the Court should undertake reconsideration of its existing, heightened-standard ruling that

Rucker has standing. And Defendants have failed to identify any extraordinary circumstances,

such as change in controlling law, new evidence, or the need to correct clear errors or prevent

manifest injustice, to justify the Court reconsidering its previous determination.102

       To have jurisdiction of this case, this Court need only find that one plaintiff has

standing.103 As the D.C. Circuit and Supreme Court have held, if “constitutional standing ‘can be

shown for at least one plaintiff, we need not consider the standing of the other plaintiffs to raise




99
   Id.
100
    Est. of Gaither ex rel. Gaither v. D.C., 771 F. Supp. 2d 5, 10 (D.D.C. 2011) (quoting S.E.C. v.
Bilzerian, 729 F. Supp. 2d 9, 14 (D.D.C. 2010)) (the court noted that defendants’ motion was not
a bona fide motion for reconsideration but rather an attempt to relitigate matters already
decided).
101
    See United States v. All Assets Held at Bank Julius, Baer & Co., Ltd., 308 F. Supp. 3d 186,
193 (D.D.C. 2018); Isse v. Am. Univ., 544 F. Supp. 2d 25, 30 (D.D.C. 2008) (“[W]here litigants
have once battled for the court’s decision, they should neither be required, nor without good
reason permitted, to battle for it again.”) (internal citations and quotations omitted).
102
    EB5 Holdings, Inc. v. Jaddou, No. CV 23-1180 (RC), 2024 WL 4431258, at *2 (D.D.C. Sept.
30, 2024).
103
    Memo. Op. and Order Denying Mot. for Stay at 6, ECF No. 28 (May 24, 2024).
                                                 23
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that claim.’”104 Because this Court has already found that Rucker has standing, it need not

evaluate the standing of the other Plaintiffs. Regardless, however, both Craig Rucker and Peter

Flaherty have submitted declarations on behalf of themselves and Plaintiffs, CFACT, and the

National Legal and Policy Center, establishing their standing to pursue these claims.105

       3.1      Plaintiff, Craig Rucker, Has Established Standing for Himself, and Plaintiff,
                CFACT

       This Court has already determined that Plaintiff, Craig Rucker, who is the founder and

President of Plaintiff, CFACT, and has dedicated his career to protecting “the most

environmentally sensitive and endangered species on the planet, including the North Atlantic

Right Whale,”106 has a cognizable, recreational, and aesthetic “abiding interest in the Right

Whale” through his “concrete plans to observe the Right Whale in the near future” and his belief

“that the Project will interfere with these plans.”107 Such interests are enough to confer standing

for ESA claims, for, as the Supreme Court has held, “[t]he desire to use or observe an animal

species, even for purely esthetic [sic] purposes, is undeniably a cognizable interest for purpose of

standing.”108

       CFACT and its members, which includes Plaintiff, Craig Rucker, have a legally protected

interest in the endangered North Atlantic Right Whale, granting them standing under the

ESA.109As a nonprofit organization, CFACT is “dedicated to protecting the earth through wise



104
    Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1, 18
(D.D.C. 2020) (quoting Carpenters Indus. Council v. Zinke, 854 F.3d 1, 9 (D.C. Cir. 2017)).
105
    See Decl. of C. Rucker, ECF No. 36-4 (Oct. 4, 2024); see also Decl. of P. Flaherty, ECF No.
36-5 (Oct. 4, 2024).
106
    Decl. of C. Rucker ¶ 3, ECF No. 36-4 (Oct. 4, 2024).
107
    Memo. Op. and Order Denying Mot. for Stay at 6, ECF No. 28 (May 24, 2024).
108
    Lujan v. Defs. of Wildlife, 504 U.S. 555, 562–63 (1992).
109
    Animal Welfare Inst. v. Beech Ridge Energy LLC, 675 F. Supp. 2d 540, 559 (D. Md. 2009)
(holding that “a nonprofit animal protection organization” with members “whom enjoyed
observing” endangered species and a “nonprofit community organization” with goals to assess
                                                 24
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stewardship of the land and its wildlife,”110 and CFACT and its members work to protect the

critically endangered Right Whale through their active stewardship program that seeks to protect

animals, empower entrepreneurs, and promote a healthy environment.111 CFACT members live

in “Virginia Beach, VA where onshore construction activities for the Dominion Wind Project

have already begun,”112 and CFACT member, Craig Rucker, has taken several trips to observe

the “[North Atlantic] Right Whale” and has scheduled several tours in Virginia Beach, VA, where

North Atlantic Right Whales are known to be present in the hopes of seeing a whale.113

Dominion Wind’s “impacts to the [North Atlantic Right Whale] will adversely affect CFACT

members and degrade their ability to observe the species and enjoy the aesthetic experience of

being in their presence.”114 Injury to their member’s ability to aesthetically and recreationally

enjoy endangered species is a cognizable, injury in fact under the ESA and constitutes an injury

to CFACT.115

       The Government mischaracterizes Rucker’s declaration, arguing that Rucker did not

plainly state that he intended to go whale watching in the areas affected by Dominion Wind’s

construction activities.116 But, that critique is incorrect, as Dominion Wind is actively being

constructed offshore of Virginia Beach, VA, and Rucker scheduled his whale watching trip with a

Virginia Beach company that travels offshore Virginia Beach.117




impacts of wind energy whose members lived near area where endangered species lived had
standing under the ESA).
110
    Decl. of C. Rucker ¶ 1, ECF No. 15-2 (Apr. 29, 2024).
111
    Id. ¶ 2–3.
112
    Id. ¶ 9.
113
    Id. ¶ 4-5.
114
    Id.¶ 7.
115
    See Lujan, 504 U.S. at 562–63.
116
    Decl. of C. Rucker ¶ 5, ECF No. 15-2 (Apr. 29, 2024).
117
    Rudee Tours, Tour Information, https://www.rudeetours.com/ (last visited Mar. 21, 2025).
                                                 25
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       The Government also inaccurately asserts that Rucker’s ability to view North Atlantic

Right Whales was not actually injured because no construction activities were occurring during

his planned whale-watching trip.118 But Dominion Energy’s December 2024 Monthly Mariner’s

report confirms that construction activities—installation of rock scour protection and installation

of cables—that affect whales were actively occurring throughout December when Rucker’s whale

watching tour was scheduled.119 And in any event, Rucker’s injury arises from his inability to

continue to observe, appreciate, and study the North Atlantic Right Whale as its numbers steadily

decline due, in part, to the adverse impacts of offshore wind projects, including Dominion Wind.

       Dominion Wind also attempts to dismiss Rucker’s injuries by claiming that “because the

alleged source of harm—purportedly unconsidered cumulative effects of other offshore wind

projects—will occur regardless,” Rucker has not established injury.120 But Rucker’s alleged

injury-in-fact is that the Government’s approval of this Dominion Wind Project, in combination

with all the other projects being approved and constructed, will injure this species of whale,

causing there to be fewer whales available to view or will cause the whales to migrate away from

the areas offshore of Virginia where they can currently be found, or both.




118
    Gov’t Memo. in Supp. of S.J. at 15, ECF No. 38-1 (Dec. 3, 2024).
119
    Dominion Energy, December 2024 Monthly Mariner’s Update for Coastal Virginia Offshore
Wind (Dec. 4, 2024) at 3,
https://coastalvawind.com/resources/pdf/mariner/20241201_december_mariner_update.pdf
(“The installation of rock scour protection at the base of the monopile foundations will continue
in December 2024 with the M/V FLINTSTONE and M/V YELLOWSTONE. Through the
remainder of 2024 and into 2025, OEC cable installation will continue with the Cable Lay Vessel
(CLV) LIVINGSTONE operating from a position beginning ~12-nautical miles from shore and
working towards the Lease Area. Pre-Lay Grapnel Runs (PLGR) along the IAC routes within the
Lease Area will begin in December using the tug WASHINGTON.”).
120
    Dominion Energy’s Memo. in Supp. of S.J. at 27, ECF No. 40-1 (Dec. 17, 2024).
                                                 26
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       3.2     Peter Flaherty and the National Legal and Policy Center Have Also
               Established Standing

       Contrary to Defendants’ erroneous assertions, the economic harm to Flaherty and the

National Legal and Policy Center from an increase in electricity rates and the monthly surcharge

resulting from the construction and installation of this offshore wind Project does constitute

injury-in-fact under the ESA. Persons or organizations with economic interests that directly relate

to endangered species also have standing to sue under the ESA.121 And the Supreme Court has

interpreted the ESA to protect purely economic interests: “[W]e think it readily apparent that

another objective [of the best available science requirement of the ESA] . . . is to avoid needless

economic dislocation produced by agency officials zealously but unintelligently pursuing their

environmental objectives.”122

       The D.C. Circuit came to a similar conclusion in Mountain States Legal Foundation v.

Glickman,123 finding that even with a solely economic claim “plaintiffs have shown an eminently

plausible relationship between their interests and policy values that play an important

constraining role in the statute[, the ESA,] at issue.”124

       Plaintiff, Peter Flaherty, is Chairman of Plaintiff, National Legal and Policy Center,

which is a non-profit organization that promotes good government, including decisions relating

to clean energy, and corporate decision-making.125 The Project economically injures Flaherty and

National Legal and Policy Center (“NLPC”) by increasing their monthly energy bills, which help

to subsidize the Dominion Wind Project:




121
    See Carpenters Indus. Council v. Zinke, 854 F.3d 1, 5 (D.C. Cir. 2017).
122
    Bennett v. Spear, 520 U.S. 154, 176–77 (1997).
123
    Mountain States Legal Found. v. Glickman, 92 F.3d 1228, 1237 (D.C. Cir. 1996).
124
    Id.
125
    Decl. of P. Flaherty ¶ 1, ECF No. 36-5 (Oct. 4, 2024).
                                                  27
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       Approval of the Dominion Wind Project has economically injured Virginia
       ratepayers, including NLPC and me, through these monthly energy bill increases to
       subsidize the offshore development. The Dominion Wind [P]roject approvals and
       decisions, including the Biological Opinion, have caused, and continue to cause
       economic injury to NLPC and me, while also failing to ensure the continued
       viability of the North Atlantic Right Whale.126

       3.3     This Court Has Already Determined that CFACT Has Established Causation

       Using the heightened preliminary injunction/summary judgment standard, this Court has

already found that Rucker has established causation, which “‘requires a showing of two causal

links: ‘one connecting the omitted [procedural step] to some substantive government decision

that may have been wrongly decided because of the lack of [that procedural requirement] and

one connecting that substantive decision to the plaintiff’s particularized injury.’’”127 This Court

found that for Rucker, “[b]oth links are present here: Mr. Rucker contends that NMFS’ failure to

consider cumulative effects resulted in a deficient Biological Opinion . . . leading to approval of

a project that will hinder his ability to observe the Right Whale.”128

       The causation here is evident, direct, and palpable: NMFS’s failure to consider

cumulative effects in the Biological Opinion led to its No Jeopardy Determination, which

resulted in BOEM’s approval of the Project, which threatens the continued existence of the

Endangered North Atlantic Right Whale, which, in turn, injures Rucker’s and CFACT’s aesthetic

and recreational, and Flaherty and National Legal and Policy Center’s economic interests.

Plaintiffs’ declarations establish the causation between the Project’s approvals and their injuries:




126
    Id.
127
    Memo. Op. and Order Denying Mot. for Stay at 7, ECF No. 28 (May 24, 2024) (quoting Ctr.
for Biological Diversity v. Env’t Prot. Agency, 861 F.3d 174, 184 (D.C. Cir. 2017)).
128
    Id.
                                                 28
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      •   “[T]he Dominion Wind Project as planned and approved will have a significant, adverse

          impact on the Right Whale Species . . . .”129

      •   “Project-related impacts to the [North Atlantic Right Whale] will adversely affect CFACT

          members and degrade their ability to observe the species and enjoy the aesthetic

          experience of being in their presence.”130

      •   “Approval of the Dominion Wind Project has economically injured Virginia ratepayers,

          including NLPC and me, through these monthly energy bill increases to subsidize the

          offshore development. The Dominion Wind [P]roject approvals and decisions, including

          the Biological Opinion, have caused, and continue to cause economic injury to NLPC and

          me, while also failing to ensure the continued viability of the North Atlantic Right

          Whale.”131

          3.4    This Court Has Authority to Redress CFACT’s Injuries

          Only Dominion Wind asserts that Plaintiffs’ injuries are not redressable; the Government

has waived this argument.132 Specifically, Dominion Wind argues that “any alleged harm to Mr.

Rucker is not redressable here because the alleged source of harm—purportedly unconsidered

cumulative effects of other offshore wind projects—will occur regardless.”133 The Government

made this same argument in its Opposition to CFACT’s Motion for Preliminary Injunction—an

argument that did not persuade the Court. Here, CFACT is seeking a ruling that the Biological

Opinion violates the ESA because it excludes the best scientific information available, including



129
    Decl. of C. Rucker ¶ 6, ECF No. 15-2 (Apr. 29, 2024).
130
    Id. ¶ 7.
131
    Decl. of P. Flaherty ¶ 3, ECF No. 36-5 (Oct. 4, 2024).
132
    See United States v. Mayendia-Blanco, 905 F.3d 26, 32 (1st Cir. 2018) (“[I]t is a well-settled
principle that arguments not raised by a party in its opening brief are waived.”).
133
    Dominion Energy’s Memo. in Supp. of S.J. at 27, ECF No. 40-1 (Dec. 17, 2024).
                                                   29
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cumulative impacts from other projects. CFACT is only asking for this Biological Opinion to be

vacated so that NMFS can analyze the best available scientific information and determine

whether that information changes its analysis and opinions in the Biological Opinion. Such a

violation is redressable by an order from this Court.134

       This Court has already determined that Plaintiffs must only show “that a ‘revisitation’

would redress the injury ‘because [the agency] could reach a different conclusion.’”135 CFACT’s

injuries are redressable because it has established that “an order requiring NMFS to consider

cumulative effects in its Biological Opinion could cause NMFS to reach a different conclusion

regarding the Project’s effects on the Right Whale.”136

4.     The Court Should Vacate the Biological Opinion

       Defendants argue that, even if Plaintiffs are successful in their summary judgment

motion, the requested remedies, vacatur of the Biological Opinion and a stay of construction, are

not available here. The Company also argues that if the Biological Opinion were vacated, “any

alleged ‘deficiency’ with the [Biological Opinion] and BOEM’s reliance on it is not

significant.”137 Defendants are wrong on the law.

       In the D.C. Circuit, “vacatur is the normal remedy” under the APA.138 And this ordinary

practice “holds when the law rendering the agency action unlawful is the Endangered Species

Act.”139 This Court has invalidated and vacated biological opinions for failing to comply with the




134
    See, e.g., Bennett, 520 U.S. at 171.
135
    Memo. Op. and Order Denying Mot. for Stay at 7, ECF No. 28 (May 24, 2024) (quoting
Center for Biological Diversity, 861 F.3d at 185).
136
    Id.
137
    Dominion Energy’s Memo. in Supp. of S.J. at 28, ECF No. 40-1 (Dec. 17, 2024).
138
    Allina Health Servs. v. Sebelius, 746 F.3d 1102, 1110 (D.C. Cir. 2014).
139
    Ctr. for Biological Diversity v. Ross, 480 F. Supp. 3d 236, 244 (D.D.C. 2020) (internal
citations and quotations omitted).
                                                 30
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ESA.140 For example, in Oceana, Inc. v. Pritzker,141 this Court found that “vacating the

[biological opinion] and directing NMFS to reinitiate consultation would redress” injuries where

plaintiffs maintained that the biological opinion permitted “an unlawfully excessive amount of

harm to loggerheads, which threatened [plaintiff’s] enjoyment and study of those animals.”142

       In Allied-Signal, the D.C. Circuit set forth two factors for courts to consider when

deciding on whether to vacate: “(1) the ‘seriousness of the order’s deficiencies’ and (2) the likely

‘disruptive consequences’ of vacatur.”143 But the Company is incorrect in asserting that the

burden of proving vacatur is necessary falls on CFACT. It does not. Rather, “because vacatur is

the default remedy[,]” “defendants bear the burden to prove that vacatur is unnecessary.”144

       “Straightforward” “violations of the ESA,” are not the sort of “deficiencies that can be

redressed on remand”145 because “the defects in the challenged [Biological Opinion] go far

beyond a mere failure in explanation.”146 Failing to consider the best scientific and commercial

data available, which is a statutory directive, is a straightforward violation of the ESA. “In such

circumstances — where there is no question that the agency has violated the law and absolutely

no possibility of the [agency action’s] survival on remand — the D.C. Circuit has suggested that

the rule ought to be vacated.”147




140
    See id. at 245; see also Ctr. for Biological Diversity v. Regan, 734 F. Supp. 3d 1, 60 (D.D.C.
2024).
141
    Oceana, Inc. v. Pritzker, 125 F. Supp. 3d 232 (D.D.C. 2015).
142
    Id. at 241.
143
    Ctr. for Biological Diversity, 734 F. Supp. 3d at 60 (quoting Allied-Signal, Inc. v. U.S. Nuclear
Regul. Comm’n, 988 F.2d 146 (D.C. Cir. 1993)).
144
    Nat’l Parks Conservation Ass’n v. Semonite, 422 F. Supp. 3d 92, 99 (D.D.C. 2019).
145
    Ctr. for Biological Diversity, 480 F.Supp.3d at 245.
146
    Humane Soc’y of the United States v. Jewell, 76 F. Supp. 3d 69, 137 (D.D.C. 2014).
147
    Conservation L. Found. v. Pritzker, 37 F. Supp. 3d 254, 271 (D.D.C. 2014) (citing Nat. Res.
Def. Council v. E.P.A., 489 F.3d 1250, 1261 (D.C. Cir. 2007)).
                                                 31
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       As for any disruptive consequences, absent a strong showing by Defendants that “vacatur

will unduly harm economic interests like aquaculture or recreational fishing,” this Court “is

reluctant to rely on economic disruption as the basis for denying” the normal remedy of

vacatur.148

       Neither Defendant has met its burden of proving that vacatur is unnecessary here. The

Company writes off any alleged deficiency in the Biological Opinion, arguing that even if those

deficiencies exist—they do—the Biological Opinion should remain valid, and construction

should be allowed to continue because the agency could explain its deficiencies and BOEM

would reasonably rely on the Biological Opinion and the analysis in the Final EIS. But the Final

EIS does not make a jeopardy determination; only a Biological Opinion by the consulting agency

can do that.

       The Presidential Memorandum issued on January 20, 2025 supports vacating the

Biological Opinion in this case. The Memorandum states that for existing leases the Secretary of

the Interior, “shall conduct a comprehensive review of the ecological, economic, and

environmental necessity of terminating or amending any existing wind energy leases,” and that

no new or renewed “approvals, rights of way, permits, leases, or loans for onshore or offshore

wind projects” shall be issued “pending the completion of a comprehensive assessment and

review of Federal wind leasing and permitting practices.”149 This Memorandum also requires the




148
    Pub. Emps. for Env’t Resp. v. United States Fish & Wildlife Serv., 189 F. Supp. 3d 1, 3
(D.D.C. 2016).
149
    Temporary Withdrawal of All Areas on the Outer Continental Shelf From Offshore Wind
Leasing and Review of the Federal Government’s Leasing and Permitting Practices for Wind
Projects, 90 Fed. Reg. 8363.
                                                32
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Secretary of Interior to consult with the National Marine Fisheries Service regarding impacts to

wildlife.150

            In any event, the Company’s argument that the Court lacks the authority to grant

Plaintiffs the requested remedy is wrong and not a ground for denying summary judgment.

Conclusion

            For all of these reasons, and those set forth in its earlier briefings, CFACT asks this Court

to grant its motion for summary judgment and deny Defendants’ cross-motions for summary

judgment.


                                                          Respectfully submitted,

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150
      Id.
                                                     33
